Case 4:20-cv-00043-SDJ Document 14-1 Filed 02/17/20 Page 1 of 1 PageID #: 60




                             UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF TEXAS
                                    PLANO DIVISION

 La’Shadion Shemwell,                              §
 As Council Member, and                            §
 In his individual capacity as a voter of          §
 District 1,                                       §
                                                   §
                Plaintiff,                         §
                                                   §        Civil Action No. 4:20-cv-00043-SDJ
 v.                                                §
                                                   §
 City of McKinney, Texas,                          §
                                                   §
                Defendant.                         §


      ORDER GRANTING DEFENDANT’S RULE 12(b)(6) MOTION TO DISMISS
                   FOR FAILURE TO STATE A CLAIM

       On February 17, 2020, Defendant’s Rule 12(b)(6) Motion to Dismiss for Failure to State a

Claim, and Brief in Support (“Defendant’s Motion”) was filed. The Court, having considered

Defendant’s Motion, all supporting briefs, responses, replies, and any other filings related thereto,

as well as the arguments of counsel, finds that Defendant’s Motion should be, in all things,

GRANTED. It is, therefore,

       ORDERED that Defendant’s Rule 12(b)(6) Motion to Dismiss for Failure to State a Claim

is hereby GRANTED in its entirety and Plaintiff’s Complaint is dismissed for failure to state a

claim upon which relief can be granted.




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FOR FAILURE TO STATE A CLAIM - Solo Page
